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The following constitutes the ruling of the court and has the force and effect therein described.




Signed September 17, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                                  DALLAS DIVISION
     ------------------------------------------------------------
     In re                                                        § Chapter 11
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,5 §                          Case No. 19-34054-sgj11
                                                                  §
                                         Debtor.                  §
     ----------------------------------------------------------- §
     UBS SECURITIES LLC AND UBS AG                                § Adversary Proceeding
     LONDON BRANCH,                                               §
                                                                  § No. 21-03020
                             Plaintiffs,                          §
                                                                  §
     vs.                                                          §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                                  §
                                         Defendant.               §
     -----------------------------------------------------------
                                ORDER GRANTING
             AGREED MOTION TO CONTINUE TRIAL AND PRE-TRIAL DEADLINES



     5
              The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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       Upon consideration of the Agreed Motion to Continue Trial and Pre-Trial Deadlines (the

“Motion to Continue”) filed by Plaintiffs UBS Securities LLC and UBS AG London Branch

(together “UBS”) with the agreement of Defendant Highland Capital Management, L.P. (the

“Debtor,” and together with UBS, the “Parties”); and it appearing that this Court has jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that this proceeding is a

core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that venue of this proceeding and

the Motion to Continue is proper in this District pursuant to 28 U.S.C. §§ 1408-1409; and due,

adequate, and sufficient notice of the Motion to Continue having been given; and having

determined that the legal and factual bases set forth in the Motion to Continue establish just cause

for the relief granted herein; and after due deliberation and sufficient cause appearing therefor, it

is hereby ORDERED:

       1.       The Motion to Continue is GRANTED.

       2.       The following dates and deadlines apply to the above-captioned adversary case:

                             Event                      Deadline or Applicable Date

            1        Dispositive Motions                    December 15, 2021
            2      Exhibit and Witness Lists                 January 31, 2022
            3         Joint Pretrial Order                   February 7, 2022
            4    Proposed Findings of Fact and               February 7, 2022
                     Conclusions of Law
            5          Trial Docket Call              February 14, 2022 at 1:30 pm CT
            6         Trial Week Begins                      February 22, 2022

       3.       The above schedule shall only be modified in a writing signed by the Parties or

upon the entry of an order of the Court entered upon notice to the Parties.

       4.       The Court shall retain jurisdiction over all disputes arising out of or otherwise

concerning the interpretation and enforcement of this Order.

                                       ### End of Order ###



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Order prepared by:

 LATHAM & WATKINS LLP

 By /s/ Sarah Tomkowiak

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 Counsel for UBS Securities LLC and UBS
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